8:08-cr-00345-JFB-TDT           Doc # 100      Filed: 10/18/12      Page 1 of 1 - Page ID # 248




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )    8:08CR345
                                              )
                       vs.                    )    ORDER FOR DISMISSAL
                                              )
ANTONIO MARTINEZ-RODRIGUEZ,                   )
                                              )
                       Defendant.             )


       Pursuant to Motion of the United States (Filing No. 99), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

Indictment against ANTONIO MARTINEZ-RODRIGUEZ.

       IT IS ORDERED that the Motion to Dismiss without prejudice the Indictment (Filing No.

99) is granted.

       Dated this 18th day of October, 2012.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              United States District Judge
